
BLUE, Acting Chief Judge.
Curt A. Massie appeals his conviction for attempted second-degree murder. We find no merit in his appeal. This court has recently aligned itself with the Fifth District’s view that follows existing precedent and leaves to the supreme court the task of deciding whether its decision in State v. Gray, 654 So.2d 552 (Fla.1995), eliminates the crime of attempted second-degree murder. See Quesenberry v. State, 711 So.2d 1359 (Fla. 2d DCA 1998) (citing Watkins v. State, 705 So.2d 938 (Fla. 5th DCA 1998)).
Affirmed.
FULMER and CASANUEVA, JJ., concur.
